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                           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT



United States of America
                           Plaintiff(s)
                                                                vs.                         Case No: 3:24-cv-02052-VDO
SDP L.L.C., dlbla Street Diesel Performance
                          Defendant(s)



                                                          AFFIDAVIT OF SERVICE

I, Christine Foran, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Complaint; Civil Cover Sheet; Notice Pursuant to Federal Rule of Civil
Procedure 7.1; Order on Pretrial Dates; Electronic Filing Order; Standing Protective Order; Notice of Option to Consent to Magistrate
Judge Jurisdiction; and Notice to Counsel and Self-Represented Parties in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 03/28/2025 at 06:08 PM, I served SOP L.L.C., dlbla Street Diesel Performance at 195 Palmer Road, Chaplin, Connecticut 06235
with the Summons; Complaint; Civil Cover Sheet; Notice Pursuant to Federal Rule of Civil Procedure 7. 1; Order on Pretrial Dates;
Electronic Filing Order; Standing Protective Order; Notice of Option to Consent to Magistrate Judge Jurisdiction; and Notice to Counsel
and Self-Represented Parties by serving Cody Langlois, Managing Agent, authorized to accept service.

Cody Langlois is described herein as:

Gender:   Male     Ethnicity:   Caucasian          Age:    33         Weight:   33            Height:   5'11"        Hair:    Brown



I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,
and belief                                                                                  •

Executed on 03/31/2025




                                                                                                                             Christine Foran


                                                                                                                     Client Ref Number: NIA
                                                                                                                             Job #:12993733




          Capitol Process Services, Inc. I 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 I (202) 667-0050
